              Case 1:06-cr-00033-OWW Document 81 Filed 09/11/07 Page 1 of 2


1    DANIEL J. BRODERICK, #89424
     Federal Defender
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5
     Attorney for Defendant
6    CLAUDIA MATA
7
8                                   IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:06-cr-00033 OWW
                                                      )
12                           Plaintiff,               )
                                                      )   REVISED APPLICATION FOR ORDER
13          v.                                        )   EXONERATING BOND AND FOR RETURN
                                                      )   OF CASH BOND; ORDER
14   CLAUDIA MATA,                                    )
                                                      )
15                           Defendants.              )   Honorable Oliver W. Wanger
                                                      )
16                                                    )
17
18                Defendant Claudia Mata, hereby moves this court for an order to exonerate the bond and return
19   the cash bond posted in the above-captioned case.
20               On January 27, 2006, Ms. Mata appeared before this court regarding an criminal complaint.
21   She was ordered released from custody under the supervision of Pretrial Services and a $5,000 cash bond.
22   (Dkt. #17) The $5,000 cash bond was posted on January 27, 2006, Receipt #100202990. (Dkt. #12)
23               Ms. Mata entered a guilty plea and was sentenced by the Court. She was ordered to surrender for
24   service of her sentence on September 6, 2007. Ms. Mata did self surrender to the Federal Correctional
25   Institution, Dublin, California on September 6, 2007, as required. See Bureau of Prisons Inmate Custody
26   Locator, attached as Exhibit 1.
27   ///
28   ///
               Case 1:06-cr-00033-OWW Document 81 Filed 09/11/07 Page 2 of 2


1              As Claudia Mata has met the conditions required by this court in this matter, and she has self
2    surrendered to the BOP facility as required by the Court, she requests that the court exonerate the bond and
3    return the cash bond of $5,000 posted be returned to Marina Mata at 3317 Mount Vernon, Bakersfield, CA
4    93306.
5              DATED: September 7, 2007
6                                                                 DANIEL J. BRODERICK
                                                                  Federal Public Defender
7
8                                                                  /s/ Francine Zepeda
                                                                  FRANCINE ZEPEDA
9                                                                 Assistant Federal Defender
                                                                  Attorneys for Defendant
10                                                                Claudia Mata
11
12
13
14                                                [PROPOSED] ORDER
15             IT IS HEREBY ORDERED that the bond in the above-captioned case be exonerated and cash
16   bond be reconveyed to Marina Mata.
17             DATED: September ____, 2007
18
                                                                  OLIVER W. WANGER, Senior Judge
19                                                                United States District Court
                                                                  Eastern District of California
20   IT IS SO ORDERED.
21   Dated: September 7, 2007                           /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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23
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25
26
27
     Application for Order Exonerating Bond and
28   for Return of Cash Bond; [Proposed] Order            2
